Motion DENIED.
                     December 20___.
         16thday of ___________,
This the ____                    20
/s/Louise W. Flanagan, U.S. District Judge
                                     IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                               WESTERN DIVISION

                                                NO. 5:18-CR-00452-1-FL

             UNITED STATES OF AMERICA

                 Plaintiff

                     v.                                              MOTION TO REOPEN
                                                                DETENTION HEARING AND ORDER
             LEONID ISAAKOVICH TEYF,                                 PRETRIAL RELEASE

                 Defendant


                     Defendant Leonid Isaakovich Teyf (“Mr. Teyf”), through the undersigned counsel,

            respectfully moves the Court to reopen his detention hearing and to order his pre-trial release from

            custody on bond pending his trials scheduled for 2021. As a result of significant changed

            circumstances since the January 23, 2019 detention hearing, there are now conditions or

            combinations of conditions which can be imposed by the Court pursuant to 18 U.S.C. §3142 that

            would reasonably assure Mr. Teyf’s appearance for next year’s trials in this matter. Mr. Teyf has

            been detained nearly 23 months since he was arrested on December 5, 2018, and is currently

            housed at Albemarle District Jail. As more fully set forth herein, this motion should be granted

            for the following reasons:

                     (1) Evidence disclosed, developed, and testimony presented since the January 23, 2019

            detention hearing dramatically shifts the weight of the evidence in Mr. Teyf’s favor, seriously

            undermines the Government’s case, and demonstrates the prior basis for restraining $39 Million

            to be illusory at best.

                     (2) The weakness of the Government’s Money Laundering (“ML”) charges, in particular,

            has been exposed by the uncontested Rule 15 testimony of numerous defense witnesses



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